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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS
                                      BENTON DIVISION


The Coin-Tainer Company, LLC,


                          Plaintiff,
        vs.                                                   Case No. 3:19-CV-00234 (NJR)

Pap-R Products Company,
Pap-R-Tainer, LLC, and Scott Ware,

                          Defendants

______________________________________________________________________________

                      STIPULATION MODIFYING CERTAIN DEADLINES

        Pursuant to Fed. R. Civ. P. 29 and the Scheduling and Discovery Order (D.I. 79), the

above-named parties, by and through their counsel of record, stipulate and agree to modify

certain discovery deadlines as shown in the following table:


                                                             Original         New
                     Deadline Description
                                                             Deadline1        Deadline

                     Deposition of Plaintiff                 2/7/2020         2/28/2020

                     Deposition of Defendants                2/21/2020        3/6/2020

                     Plaintiff’s expert disclosures          3/13/2020        3/31/2020

                     Defendants’ expert disclosures 4/10/2020                 4/24/2020

                     Deposition of Plaintiff’s
                                                             4/24/2020        4/28/2020
                     expert(s)

                     Deposition of Defendants’                                5/1/2020
                                                             5/1/2020
                     expert(s)                                                (Unchanged)


1
 As set by the Scheduling and Discovery Order, adopting the deadlines proposed in the parties’ Joint Report (D.I.
79-1).

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Dated: January 28, 2020.
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                                 CERTIFICATE OF SERVICE


        I hereby certify that on this 28th day of January, 2020, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system for service upon the parties and counsel of
record.


                                                              /s/ Nathan Fonda




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